
566 N.W.2d 741 (1997)
252 Neb. 749
STATE of Nebraska ex rel. NEBRASKA STATE BAR ASSOCIATION, Relator,
v.
Richard E. SCOTT, Respondent.
No. S-97-584.
Supreme Court of Nebraska.
June 27, 1997.
Before WHITE, C.J., and CAPORALE, CONNOLLY, GERRARD, STEPHAN, and McCORMACK, JJ.
*742 PER CURIAM.
Richard E. Scott was admitted to the practice of law in the State of Nebraska on February 28, 1972.
On May 19, 1997, Scott entered a plea of guilty in the U.S. District Court for the District of Nebraska to one count of the felony offense set forth at "26 U.S.C. § 7206(1)."
On June 2, 1997, Scott voluntarily surrendered his license to practice law in the State of Nebraska. In so doing, Scott specifically admitted that his conduct as hereinbefore set forth violated Canon 1, DR 1-102(A)(3) and (4), of the Code of Professional Responsibility, as adopted by the Nebraska Supreme Court. Scott waived his right to notice, appearance, or hearing prior to entry of this order.
We accept Scott's surrender of his license to practice law in the State of Nebraska and order him disbarred from the practice of law in the State of Nebraska, effective immediately.
JUDGMENT OF DISBARMENT.
WRIGHT, J., not participating.
